                Case 2:22-bk-10266-BB                  Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                                     Desc
                                                       Main Document    Page 1 of 40

)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH

&(175$/',675,&72)&$/,)251,$/26$1*(/(6',9,6,21

&DVHQXPEHU(if known)                                                      &KDSWHU      
                                                                                                                          &KHFNLIWKLVDQ
                                                                                                                             DPHQGHGILOLQJ




2IILFLDO)RUP
9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                                                          
,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU VQDPHDQGWKHFDVHQXPEHU LI
NQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals, LVDYDLODEOH


   'HEWRU VQDPH                (VFDGD$PHULFD//&

   $OORWKHUQDPHVGHEWRU
     XVHGLQWKHODVW\HDUV
     ,QFOXGHDQ\DVVXPHG          ).$(VFDGD866XEFR//&
     QDPHVWUDGHQDPHVDQG
     doing business as QDPHV

   'HEWRU VIHGHUDO
     (PSOR\HU,GHQWLILFDWLRQ      
     1XPEHU (,1


   'HEWRU VDGGUHVV             3ULQFLSDOSODFHRIEXVLQHVV                                    0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFHRI
                                                                                                 EXVLQHVV

                                  :LOVKLUH%OYGWK)ORRU
                                  %HYHUO\+LOOV&$
                                  1XPEHU6WUHHW&LW\6WDWH =,3&RGH                         32%R[1XPEHU6WUHHW&LW\6WDWH =,3&RGH

                                  /RV$QJHOHV                                                    /RFDWLRQRISULQFLSDODVVHWVLIGLIIHUHQWIURPSULQFLSDO
                                  &RXQW\                                                         SODFHRIEXVLQHVV

                                                                                                 1XPEHU6WUHHW&LW\6WDWH =,3&RGH


   'HEWRU VZHEVLWH 85/        ZZZHVFDGDFRP


   7\SHRIGHEWRU                  &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3
                                   3DUWQHUVKLS H[FOXGLQJ//3
                                   2WKHU6SHFLI\




2IILFLDO)RUP                          9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                             SDJH
                 Case 2:22-bk-10266-BB                      Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                                   Desc
                                                            Main Document    Page 2 of 40
'HEWRU    (VFDGD$PHULFD//&                                                                      &DVHQXPEHU if known
          1DPH



   'HVFULEHGHEWRU VEXVLQHVV        $Check one:
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                                          6LQJOH$VVHW5HDO(VWDWH DVGHILQHGLQ86& %
                                          5DLOURDG DVGHILQHGLQ86& 
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                                          &RPPRGLW\%URNHU DVGHILQHGLQ86& 
                                          &OHDULQJ%DQN DVGHILQHGLQ86& 

                                          1RQHRIWKHDERYH

                                       % Check all that apply
                                        7D[H[HPSWHQWLW\ DVGHVFULEHGLQ86&
                                        ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOH DVGHILQHGLQ86&D
                                        ,QYHVWPHQWDGYLVRU DVGHILQHGLQ86&E D 

                                       & 1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU
                                          6HHKWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                            

   8QGHUZKLFKFKDSWHURIWKH        Check one:
     %DQNUXSWF\&RGHLVWKH
     GHEWRUILOLQJ"
                                        &KDSWHU
                                        &KDSWHU
     $GHEWRUZKRLVD³VPDOO             &KDSWHUCheck all that apply
     EXVLQHVVGHEWRU´PXVWFKHFN
     WKHILUVWVXEER[$GHEWRUDV                          7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' DQGLWVDJJUHJDWH
     GHILQHGLQ  ZKR                                    QRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWRLQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ
     HOHFWVWRSURFHHGXQGHU                                     ,IWKLVVXEER[LVVHOHFWHGDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQWRI
     VXEFKDSWHU9RIFKDSWHU                                  RSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDQ\RIWKHVHGRFXPHQWVGRQRW
      ZKHWKHURUQRWWKHGHEWRULVD                             H[LVWIROORZWKHSURFHGXUHLQ86&  % 
     ³VPDOOEXVLQHVVGHEWRU´ PXVW                              7KHGHEWRULVDGHEWRUDVGHILQHGLQ86&  LWVDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHG
     FKHFNWKHVHFRQGVXEER[
                                                                 GHEWV H[FOXGLQJGHEWVRZHGWRLQVLGHUVRUDIILOLDWHV DUHOHVVWKDQDQGLWFKRRVHVWR
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                                                                 EDODQFHVKHHWVWDWHPHQWRIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULI
                                                                 DQ\RIWKHVHGRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 
                                                             $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ
                                                             $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRIFUHGLWRUVLQ
                                                                 DFFRUGDQFHZLWK86& E 
                                                             7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH6HFXULWLHVDQG
                                                                 ([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV([FKDQJH$FWRI)LOHWKH
                                                                 $ttachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 2IILFLDO)RUP$ ZLWKWKLVIRUP
                                                             7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOHE
                                        &KDSWHU
   :HUHSULRUEDQNUXSWF\
     FDVHVILOHGE\RUDJDLQVW
                                        1R
     WKHGHEWRUZLWKLQWKHODVW       <HV
     \HDUV"
     ,IPRUHWKDQFDVHVDWWDFKD
     VHSDUDWHOLVW                              'LVWULFW                               :KHQ                               &DVHQXPEHU
                                                 'LVWULFW                               :KHQ                               &DVHQXPEHU




2IILFLDO)RUP                              9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                              SDJH
                 Case 2:22-bk-10266-BB                          Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                                     Desc
                                                                Main Document    Page 3 of 40
'HEWRU    (VFDGD$PHULFD//&                                                                           &DVHQXPEHU if known
          1DPH

 $UHDQ\EDQNUXSWF\FDVHV
    SHQGLQJRUEHLQJILOHGE\D
                                            1R
    EXVLQHVVSDUWQHURUDQ                  <HV
    DIILOLDWHRIWKHGHEWRU"




     /LVWDOOFDVHV,IPRUHWKDQ
     DWWDFKDVHSDUDWHOLVW                         'HEWRU                                                                  5HODWLRQVKLS
                                                    'LVWULFW                                :KHQ                            &DVHQXPEHULINQRZQ


 :K\LVWKHFDVHILOHGLQ           Check all that apply:
    this district?
                                             'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\VLPPHGLDWHO\
                                              SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHUGLVWULFW
                                             $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

 'RHVWKHGHEWRURZQRU
    KDYHSRVVHVVLRQRIDQ\
                                        1R
    UHDOSURSHUW\RUSHUVRQDO           <HV $QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
    SURSHUW\WKDWQHHGV
    LPPHGLDWHDWWHQWLRQ"                          :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ" Check all that apply.
                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                     :KDWLVWKHKD]DUG"
                                                   ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU
                                                   ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXWDWWHQWLRQ IRUH[DPSOH
                                                     OLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHGDVVHWVRURWKHURSWLRQV 
                                                   2WKHU
                                                  :KHUHLVWKHSURSHUW\"
                                                                                   1XPEHU6WUHHW&LW\6WDWH =,3&RGH
                                                  ,VWKHSURSHUW\LQVXUHG"
                                                   1R
                                                   <HV ,QVXUDQFHDJHQF\
                                                               &RQWDFWQDPH
                                                               3KRQH



          6WDWLVWLFDODQGDGPLQLVWUDWLYHLQIRUPDWLRQ

 'HEWRU VHVWLPDWLRQRI                    Check one:
    DYDLODEOHIXQGV
                                                )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                                $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHWRXQVHFXUHGFUHGLWRUV

 (VWLPDWHGQXPEHURI                                                                                           
    FUHGLWRUV                                                                                                    
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 (VWLPDWHG$VVHWV                                                       PLOOLRQ                  ELOOLRQ
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 (VWLPDWHGOLDELOLWLHV                                                  PLOOLRQ                  ELOOLRQ

2IILFLDO)RUP                                 9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                  SDJH
                Case 2:22-bk-10266-BB         Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                              Desc
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'HEWRU   (VFDGD$PHULFD//&                                                       &DVHQXPEHU if known
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2IILFLDO)RUP                 9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                        SDJH
                 Case 2:22-bk-10266-BB                  Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                                       Desc
                                                        Main Document    Page 5 of 40
'HEWRU    (VFDGD$PHULFD//&                                                                      &DVHQXPEHU if known
          1DPH



          5HTXHVWIRU5HOLHI'HFODUDWLRQDQG6LJQDWXUHV

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRU
           LPSULVRQPHQWIRUXSWR\HDUVRUERWK86&DQG

 'HFODUDWLRQDQGVLJQDWXUH
    RIDXWKRUL]HG                7KHGHEWRUUHTXHVWVUHOLHILQDFFRUGDQFHZLWKWKHFKDSWHURIWLWOH8QLWHG6WDWHV&RGHVSHFLILHGLQWKLVSHWLWLRQ
    UHSUHVHQWDWLYHRIGHEWRU
                                 ,KDYHEHHQDXWKRUL]HGWRILOHWKLVSHWLWLRQRQEHKDOIRIWKHGHEWRU

                                 ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW

                                 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                                 ([HFXWHGRQ       
                                                  00''<<<<


                             X                                                                            .HYLQ:DOVK
                                 6LJQDWXUHRIDXWKRUL]HGUHSUHVHQWDWLYHRIGHEWRU
                                     DWXUHRIDXWKRUL]
                                                   UULLL]]HGUHSUHVHQWDWLYH
                                                    UL]                                                   3ULQWHGQDPH

                                 7LWOH   'LUHFWRURI)LQDQFH




 6LJQDWXUHRIDWWRUQH\    X                                                                             'DWH    
                                 6LJQDWXUHRIDWWRUQH\IRUGHEWRU
                                      WXUH
                                        UH R
                                        UH RII DW
                                               DWWRU
                                                WWWR
                                                  WRU
                                                   RUUQH\ IRUG
                                                   R        U HEWRU                                               00''<<<<

                                 -RKQ3DWULFN0)ULW]6WDWHRI&DOLIRUQLD
                                                         6
                                 3ULQWHGQDPH

                                 /HYHQH1HDOH%HQGHU<RR *ROXEFKLN//3
                                 )LUPQDPH

                                 /D&LHQHJD$YHQXH
                                 /RV$QJHOHV&$
                                 1XPEHU6WUHHW&LW\6WDWH =,3&RGH


                                 &RQWDFWSKRQH                       (PDLODGGUHVV           -3)#/1%<*&20


                                 6WDWHRI&DOLIRUQLD&$
                                 %DUQXPEHUDQG6WDWH




2IILFLDO)RUP                          9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                                    SDJH
              Case 2:22-bk-10266-BB                            Doc 1 Filed 01/18/22 Entered 01/18/22 09:52:25                             Desc
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 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 'HEWRUQDPH         (VFDGD$PHULFD//&

                                                    &(175$/',675,&72)&$/,)251,$/26$1*(/(6
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            ',9,6,21

 &DVHQXPEHU LINQRZQ
                                                                                                                                 &KHFNLIWKLVLVDQ
                                                                                                                                    DPHQGHGILOLQJ



2IILFLDO)RUP
'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV                                                                                         

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLWWKLV
IRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQWDQGDQ\
DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKHGRFXPHQW
DQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



                'HFODUDWLRQDQGVLJQDWXUH


       ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRUDQRWKHU
       LQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

       ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW

                 Schedule A/B: Assets–Real and Personal Property 2IILFLDO)RUP$%
                 Schedule D: Creditors Who Have Claims Secured by Property 2IILFLDO)RUP'
                 Schedule E/F: Creditors Who Have Unsecured Claims 2IILFLDO)RUP()
                 Schedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP*
                 Schedule H: Codebtors 2IILFLDO)RUP+
                 Summary of Assets and Liabilities for Non-Individuals 2IILFLDO)RUP6XP
                 $PHQGHGSchedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders 2IILFLDO)RUP
                 2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQ

       ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
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 'HEWRU    (VFDGD$PHULFD//&                                                                                &DVHQXPEHU(if known)
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     GHEWRULVDJHQHUDOSDUWQHUJHQHUDOSDUWQHURIWKHGHEWRURUSHUVRQLQFRQWURORIWKHGHEWRUDVIROORZV 6HWIRUWKWKH
     FRPSOHWHQXPEHUDQGWLWOHRIHDFKVXFKSULRUSURFHHGLQJGDWHILOHGQDWXUHRIWKHSURFHHGLQJWKH%DQNUXSWF\-XGJH
     DQGFRXUWWRZKRP DVVLJQHG ZKHWKHU VWLOOSHQGLQJDQGLI QRW WKH GLVSRVLWLRQWKHUHRI ,IQRQHVRLQGLFDWH$OVROLVW
     DQ\UHDOSURSHUW\LQFOXGHGLQ6FKHGXOH$%WKDWZDVILOHGZLWKDQ\VXFKSULRUSURFHHGLQJ V 
1RQH

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     SUHYLRXVO\EHHQILOHGE\RUDJDLQVWWKHGHEWRURUDQ\RILWVDIILOLDWHVRUVXEVLGLDULHVDGLUHFWRURIWKHGHEWRUDQRIILFHU
     RIWKHGHEWRUDSHUVRQLQFRQWURORIWKHGHEWRUDSDUWQHUVKLSLQZKLFKWKHGHEWRULVJHQHUDOSDUWQHUDJHQHUDOSDUWQHU
     RIWKHGHEWRUDUHODWLYHRIWKHJHQHUDOSDUWQHUGLUHFWRURIILFHURUSHUVRQLQFRQWURORIWKHGHEWRURUDQ\SHUVRQVILUPV
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     VXFKSULRUSURFHHGLQJGDWHILOHGQDWXUHRISURFHHGLQJWKH%DQNUXSWF\-XGJHDQGFRXUWWRZKRPDVVLJQHGZKHWKHU
     VWLOOSHQGLQJDQGLIQRWWKHGLVSRVLWLRQWKHUHRI,IQRQHVRLQGLFDWH$OVROLVWDQ\UHDOSURSHUW\LQFOXGHGLQ6FKHGXOH
     $%WKDWZDVILOHGZLWKDQ\VXFKSULRUSURFHHGLQJ V 
1RQH

    ,ISHWLWLRQHULVDQLQGLYLGXDO $SHWLWLRQXQGHUWKH%DQNUXSWF\5HIRUP$FWRILQFOXGLQJDPHQGPHQWVWKHUHRIKDV
     EHHQILOHGE\RUDJDLQVWWKHGHEWRUZLWKLQWKHODVWGD\V 6HWIRUWKWKHFRPSOHWHQXPEHUDQGWLWOHRIHDFKVXFKSULRU
     SURFHHGLQJ GDWH ILOHG QDWXUH RI SURFHHGLQJ WKH %DQNUXSWF\ -XGJH DQG FRXUW WR ZKRP DVVLJQHG ZKHWKHU VWLOO
     SHQGLQJDQGLIQRWWKHGLVSRVLWLRQWKHUHRI,IQRQHVRLQGLFDWH$OVROLVWDQ\UHDOSURSHUW\LQFOXGHGLQ6FKHGXOH$%
     WKDWZDVILOHGZLWKDQ\VXFKSULRUSURFHHGLQJ V 
1RQH

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October 2018                                                               Page 1              )67075(/$7('&$6(6
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$WWRUQH\RU3DUW\1DPH$GGUHVV7HOHSKRQH )$;1RV )25&285786(21/<
6WDWH%DU1R (PDLO$GGUHVV
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 Debtor(s) appearing without an attorney
 Attorney for Debtor

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FRQVLVWHQWZLWKWKH'HEWRU VVFKHGXOHVDQG,ZHDVVXPHDOOUHVSRQVLELOLW\IRUHUURUVDQGRPLVVLRQV
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'DWH
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                  7KLVIRUPLVRSWLRQDO,WKDVEHHQDSSURYHGIRUXVHLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLD
December 2015                                                                                      )0$,/,1*/,679(5,),&$7,21
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                       Escada America, LLC
                       9720 Wilshire Blvd. 6th Floor
                       Beverly Hills, CA 90212


                       John Patrick M. Fritz
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P.
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       693 Fifth Owner LLC
                       PO Box          780522
                       Philadelphia, PA 19178-0522


                       717 GFC LLC
                       500 5th Avenue 54th Floor
                       New York City, NY 10110


                        Beverly Hills Wilshire Hotel
                       9500 WILSHIRE BLVD
                       BEVERLY HILLS, CA 90212


                       ABALON EXTERMINATING CO. INC.
                       261 FIFTH AVENUE SUITE 1504
                       New York, NY 10016


                       Ala Moana Anchor Acquisition, LLC
                       PO Box          860375
                       Minneapolis, MN 55486-0074


                       ALA MOANA CENTER ASSOCIATION
                       PO Box          29960
                       HONOLULU, HI 96820
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                   Alliance Pro Services LLC
                   239 Sneech Pond Bd
                   Cumberland, RI 02864


                   Alliant Insurance Services, Inc.
                   701 B St 6th Floor
                   San Diego, CA 92101


                   ALPINE BUSINESS SYSTEMS
                   1661 Route 22 West
                   Bound Brook, PA 08805


                   Amanda Huang
                   3870 Livermore Outlets Drive
                   Livermore, CA 94551


                   American Commercial Equities Three,
                   22917 Pacific Coast Highway,
                   Malibu, CA 90265


                   AMERICAN EXPRESS
                   PO Box          1270
                   NEWARK, NJ 07101-1270


                   Angel Tailor
                   1311 Kapiolani Blvd Suite 209
                   Honolulu, HI 96814


                   Archive Systems, Inc.
                   PO Box          782998
                   Philadelphia, PA 19178-2998
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                   ASA Cleaning Services Corp
                   102 Smoke Rise Drive
                   Warren, NJ 07059


                   Atlantic Broadband
                   PO Box          5019
                   Carol Stream, IL 60197-5019


                   AVALARA INC
                   DEPT.CH 16781
                   PALATINE, IL 60055-6781


                   Bal Harbour Shops LLLP
                   9700 Collins Avenue
                   Bal Harbour, FL 33154


                   Blue Print AG
                   Lindberghstra e 17
                   Munchen, Germany 80939-0000
                   Germany


                   BOGUSLAW SANKOWSKI
                   919 Michigan Avenue, 3rd Fl
                   Chicago, IL 60611


                   Borden Ladner Gervais, LLP
                   22 Adelaide St W, Bay Adelaide Ctr. E tw
                   Toronto, ON M5H 4E3
                   Canada


                   BUREAU OF ELEVATOR SAFETY
                   TALLAHASSEE, FL 32314-6300
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                   California Employment Dev. Dept.
                   Bankruptcy Special Procedures Group
                   PO Box 826880 MIC 92E
                   Sacramento, CA 94280


                   California Franchise Tax Board
                   Bankruptcy Unit
                   PO Box 2952 MS-A340
                   Sacramento, CA 95812-2952


                   Carlton Technologies, Inc
                   2336 112th Avenuevend
                   Holland, MI 49424


                   CenturyLink
                   PO Box          2961
                   Phoenix, AZ 85062-2961


                   CHETRIT 1412 LLC
                   PO Box           785000
                   PHILADELPHIA, PA 10018


                   Chicago Oak Street Partners, LLC
                   1343 N. Wells Street, Rear Bldg.
                   Chicago, IL 60610


                   Cisco Systems Capital Corporation
                   PO Box          41602
                   Philadelphia, PA 19101-1602


                   Cision US, I
                   PO Box          98869
                   Chicago, IL 60693-8869
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                   CIT
                   21146 NETWORK PLACE
                   Chicago, IL 60673-1211


                   CITY EXPEDITOR, INC.
                   286 5th Avenue
                   New York, NY 10001


                   City of Beverly Hills
                   PO Box          548
                   Roseville, CA 95678-0548


                   CITY OF WEST PALM BEACH
                   PO Box          30000
                   TAMPA,, FL 33630-3000


                   CLEANER'S SUPPLYS INC
                   1059 Powers Road
                   Conklin, NY 13748


                   CMS MECHANICAL SERVICE CO.
                   445 WEST DRIVE, #101
                   MELBOURNE, FL 32904


                   Comcast Business
                   PO Box          71211
                   Charlotte, NC 28272-1211


                   COMMONWEALTH EDISON
                   PO Box          6112
                   Carol Stream, IL 60197-6112
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                   ComplyRight, Inc. dba HR Direct
                   PO Box          669390
                   Pompano Beach, FL 33066


                   Computop GmbH
                   Schwarzenbergstra e 4
                   Bamberg, Germany 96050-0000
                   Germany


                   Computop, Inc.
                   300 East 42nd Street, 14th Floor
                   New York, NY 10017


                   Concur Technologies Inc
                   62157 Collections Center Drive
                   Chicago, IL 60693


                   CONDE NAST PUBLICATIONS
                   PO Box          5350
                   New York, NY 10087-5350


                   Country Club Cleaners
                   500 Bollinger Canyon Way Ste A4
                   San Ramon, CA 94582


                   County of Los Angeles
                   Dept. of Treasurer & Tax Collector
                   P.O. Box 54027
                   Los Angeles, CA 90054-0027


                   Crown Castle Fiber LLC
                   PO Box          27135
                   New York, NY 27135
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                   CT CORPORATION SYSTEM
                   PO Box          4349
                   Carol Stream, IL 60197


                   Cushman and Wakefield
                   1290 Avenue of the Americas
                   New York, NY 10104


                   Direct Construction Company Limited
                   50 Nashdene Rd., Unit 105
                   Scarborough, ON M1V 5J2
                   Canada


                   Dutch Express, LLC
                   13 West 38th Street - 3rd Floor
                   New York, NY 10018


                   Eddie Love Petty Cash
                   3393 Peachtree Rd NE
                   Atlanta, GA 30326


                   Eden Roc International, LLC
                   9720 Wilshire Blvd. 6th Floor
                   Beverly Hills, CA 90212


                   El Paseo Collection North
                   73-061 El Paseo, Suite 200
                   Palm Desert, CA 92260


                   Elaine Cohen
                   10 West 66th Street, Apt 12B
                   New York, NY 10023
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                   Escada Sourcing and Production LLC
                   9720 Wilshire Blvd. 6th Floor
                   Beverly Hills, CA 90212


                   EXPRESS FIRE PROTECTION
                   PO Box          670041
                   CORAL SPRINGS, FL 33067


                   Express Parking, Management, Inc.
                   1001 W. JASMINE DRIVE, SUITE N
                   LAKE PARK,, FL 33403-2119


                   FANDL, LLC
                   170 E. Ridgewood Ave. Suite 203
                   Ridgewood, NJ 07450


                   FASHION LOGISTICS, INC.
                   621 ROUTE 46
                   HASBROUCK HEIGHTS, NJ 07604


                   Florida Pest Control
                   Suite 100 4140 SW 30th Avenue
                   Fort Lauderdale, FL 33312-6801


                   FLORIDA POWER & LIGHT
                   GENERAL MAIL FACILITY
                   Miami, FL 33188-0001


                   FRACHT FWO,INC
                   50 Broadway
                   Lynbrook NEW YORK, NY 11563
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                   Freecom Luxury Art Book, LLC
                   9550 Bay Harbor Terrace, Suite 201
                   Bal Harbour, FL 33154


                   Frontier Communications
                   PO Box          740407
                   Cincinnati, OH 45274-0407


                   Funaro & co., P.C.
                   350 Fifth Avenue, 41st Fl
                   New York, NY 10118


                   Fusion Cloud Company, LLC
                   PO Box          51538
                   Los Angeles, CA 90051-5838


                   General Information Solutions, LLC
                   PO Box          841243
                   Dallas, TX 75284


                   Global Facility Management & Constr
                   525 Broadhollow Road, Suite 100
                   Melville, NY 11747


                   Granite Telecommunications
                   Client ID311
                   Boston, MA 02298-3119


                   GRANT MCCARTHY GROUP LLC
                   777 WESTCHESTER AVENUE
                   WHITE PLAINS, NY 10604
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                   Green Peak Building Services, Inc
                   59 Rockledge Road, Suite 20
                   Bronxville, NY 10708


                   HAIG SERVICE CORPORATION
                   5601 POWERLINE RD, #303
                   FT LAUDERDALE, FL 33309-2831


                   HAWAII MEDICAL SERVICE ASSOCIATION
                   PO Box          29330
                   HONOLULU, HI 96820-1730


                   Hedy Bentel
                   70-120 Chappel Road
                   Rancho Mirage, CA 92270


                   Hospitality Services, Inc
                   244 Madison Avenue,
                   New York, NY 10016


                   HWS Informationssysteme GmbH
                   Wilhelmstr 2
                   Neustadt an der Aisch, Germany 9141
                   Germany


                   IMPERIAL COMMERCIAL CLEANING
                   151 Dixon Avenue
                   Amityville, NY 11701


                   IMPERIAL NETWORK GROUP INC
                   2800 Bruckner Blvd. Suite 303
                   Bronx, NY 10465
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                   INGENIEURB RO RUCKPAUL &
                   WARSCHAUER STRASSE 70 A
                   BERLIN, Germany 10243-0000
                   Germany


                   Inter Trade Systems Inc
                   PO Box          55811
                   Boston, MA 02205-5811


                   Internal Revenue Service
                   300 North Los Angeles Street
                   Mail Stop 5027
                   Los Angeles, CA 90012


                   Internal Revenue Service
                   P.O. Box 21126
                   Philadelphia, PA 19114


                   INTERNATIONAL SILKS & WOOLENS
                   8347 BEVERLY BLVD.
                   Los Angeles, CA 90048


                   J.D Coins Inc.
                   6770 INDIAN CREEK DR TSB
                   MIAMI BEACH, FL 33141


                   Jana Cori Coke
                   127 E 9th Street, Suite 1003
                   Los Angeles, CA 90015


                   Jive Communications, Inc
                   PO Box          412252
                   Boston, MA 02241-2252
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                   JOHNSON CONTROLS FIRE PROTECTION LP
                   Dept. CH 10320
                   PALATINE, IL 60055-0320


                   Johnson Controls Security Solutions
                   PO Box          371994
                   Pittsburgh, PA 15250-7994


                   Joyce A. Pence
                   8224 E. Monte Vista Road
                   Scottsdale, AZ 85257


                   Keter Environmental Services, Inc
                   PO Box          417468
                   Boston, MA 02241-7468


                   Kim Murphy
                   347 RED APPLE COURT
                   CENTRAL VALLEY, NY 10917


                   KUCKER MARINO WINIARSKY & BITTENS,
                   747 Third Avenue
                   New York, NY 10017


                   LA MODELS
                   7700 SUNSET BLVD.
                   Los Angeles, CA 90046


                   Las Vegas North Outlets, LLC
                   875 South Grand Central Parkway, #1
                   Las Vegas, NV 89106
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                   Lea Journo Salon
                   9500 Wilshire Blvd
                   Beverly Hills, CA 90212


                   Madeline Ungar
                   7825 Blue Water Drive
                   Las Vegas, NV 89128


                   Mangia 57th Inc.
                   50 West 57th Street
                   New York, NY 10019


                   Margaret's Cleaners
                   5150 Convoy Street
                   San Diego, CA 92111


                   Mark-Alan Harmon
                   10852 Fruitlad Drive
                   Studio City, CA 91604


                   MARY TANABE
                   1484 KAWELOKA STREET
                   PEARL CITY,, HI 96782


                   Master Mechanical Services, Inc
                   15181 NW 33 Pl
                   Miami, FL 33054


                   Master Touch Cleaners, Inc.
                   1175 Baker Street, Suite A7
                   Costa Mesa, CA 92626
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                   Mega International, LLC
                   9720 Wilshire Blvd. 6th Floor
                   Beverly Hills, CA 90212


                   Melanie Theodoridis
                   7 EAST 55TH STREET
                   New York, NY 10022


                   METROPOLITAN TELECOMM.
                   PO Box          9660
                   MANCHESTER, NH 03108-9660


                   MI9 Retail - Raymark ULC
                   2020 Route Transcanadienne, #401
                   Dorval, QC H9P 2N4
                   Canada


                   MILLENIUM SIGNS & DISPLAY, INC.
                   90 W GRAHAM AVENUE
                   HEMPSTEAD,, NY 11550-6102


                   Modern Luxury
                   PO Box          530206
                   Atlanta, GA 30353-0206


                   Monika Arden
                   9500 WILSHIRE BLVD
                   BEVERLY HILLS, CA 90212


                   Mood Media
                   PO Box          71070
                   Charlotte, NC 28272-1070
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                   MR HANDYMAN OF CALIFORNIA
                   223 MISSISSIPPI STREET, #3
                   SAN FRANCISCO, CA 94107


                   MUSE MANAGEMENT, INC
                   150 Broadway, #1101
                   New York, NY 10038


                   Mutual Security Services, Inc
                   PO Box          3711
                   New York, NY 10008-3711


                   Nestle Waters North America
                   PO Box          856680
                   Louisvile, KY 40285-6680


                   NVEnergy
                   PO Box              30150
                   RENO, NV 89520


                   OCTAVIO PARRA
                   1235 E 27TH STREET
                   Los Angeles, CA 90011


                   One Image Protection INC
                   Postal code       90670
                   Santa Fe Springs, NM 90670


                   ONE TIME VENDOR Customer refund C.ICHIK
                   1388 Ala Moana BLVD
                   HONOLULU, HI 96814
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                   Opentext
                   9711 Washingtonian Blvd., Suite 700
                   Gaithersburg, MD 20878


                   Oprandy's Fire & Safety Equipment
                   49 Brookline Avenue
                   Middletown, NY 10940


                   Optimum
                   PO Box          742698
                   Cincinnati, OH 45274-2698


                   OPTUS INC
                   PO Box          2503
                   JONESBORO, AR 72402


                   ORACLE ELEVATOR COMPANY
                   PO Box          636843
                   CINCINNATI, OH 45263-6843


                   ORKIN
                   2257 Vista Parkway, Suite 5
                   WEST PALM BEACH,, FL 33411-2726


                   Orkin , 875- N Houston Comm
                   15621 Blue Ash Drive
                   Houston, TX 77090


                   Orkin Pest Control
                   9505 NW 40th Street RD
                   Doral, FL 33178-2339
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                   PALM BEACH COUNTY
                   PO Box          3353
                   WEST PALM BEACH, FL 33402-3353


                   PALM BEACH FIRE RESCUE
                   300 NORTH COUNTY ROAD
                   PALM BEACH, FL 33480


                   PITNEY BOWES GLOBAL
                   PO Box          371887
                   Pittsburgh, PA 15250-7887


                   PITNEY BOWES PURCHASE POWER
                   PO Box          371874
                   Pittsburgh, PA 15250-7874


                   Premium Outlet Partners LP
                   PO Box          822873
                   Philadelphia, PA 19182-2873


                   Pyke Mechanical Inc.
                   9401 NW 106 St
                   Miami, FL 33178


                   QSCS OF NY, INC.
                   212 WEST 35TH STREET, 15THFLOOR
                   New York, NY 10001


                   Ralph's Sewing and Vacuum
                   73-941 Highway 111
                   Palm Desert, CA 92260
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                   RAVE FABICARE INC.
                   8490 E BUTHERUS DRIVE STE. 104
                   SCOTTSDALE, AZ 85260


                   REGENCY ENTERPRISES INC
                   PO Box          102193
                   Pasadena, CA 91189-2193


                   Reliable Products Supply
                   27 Wang Yip East Street, Room 307 3
                   Yuen Long, Hong Kong HK
                   Hong Kong


                   Runway Waiters
                   1230 Horn Avenue, #416
                   Hollywood, CA 90069


                   RUSSIAN BAZAAR
                   8518 17TH AVENUE,FL2
                   BROOKLYN, NY 11214


                   SAMSON MANAGEMENT CORP.
                   97-77 QUEENS BLVD, SUITE 710
                   REGO PARK, NY 11374


                   Schaefer Trans. Inc.
                   PO Box          371461
                   Pittsburgh, PA 15250-7461


                   SCHINDLER ELEVATOR CORPORATION
                   PO Box          93050
                   Chicago, IL 60673-3050
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                   SCM
                   5757 WILSHIRE BLVD STE. 210
                   Los Angeles, CA 90036


                   Scottsdale Fashion Square LLC
                   PO Box          31001-2156
                   Pasadena, CA 91110-2156


                   Sedgwick Claims Management
                   36392 Treasury Center
                   Chicago, IL 60694-6300


                   SEN Graphics, Inc.
                   3125 Horseshoe Lane, Suite D
                   Charlotte, NC 28208


                   SEW GOOD
                   #208 1411 S. King St.
                   HONOLULU, HI 96814


                   SHAROTTE BOUTIQUE
                   1665 KALAKAUA AVE, 104
                   HONOLULU, HI 96826


                   SHIFT 4 CORPORATION
                   1491 CENTER CROSSING RD
                   LAS VEGAS, NV 89144


                   Simon Property Group LP
                   2696 Solution Center
                   Chicago, IL 60677-2006
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                   Sing Tao Newspapers New York LLC
                   188 Lafayette Street
                   New York, NY 10013


                   Sirina Protection Systems
                   151 Herricks Rd. Suite 103
                   Garden City Park, NY 11040


                   SoCalGas
                   PO BOX C
                   MONTEREY PARK, CA 91756


                   SOUTH COAST PLAZA
                   FILE NUMBER 54876
                   Los Angeles, CA 90074-4876


                   SOUTHWEST SIGN COMPANY
                   1852 POMONA ROAD
                   CORONA, CA 92878


                   SPG HOUSTON HOLDINGS,LP
                   PO Box          822693
                   PHILADELPHIA, PA 19182-2693


                   St Moritz Security Services, Inc.
                   PO Box          5017
                   Greensburg, PA 15601-5017


                   Syzygy Performance GmbH
                   Osterwaldstra e 10
                   Munchen, Germany 80805-0000
                   Germany
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                   T & G INDUSTRIES
                   120 3rd Street
                   Brooklyn, NY 11231


                   Talent Staff, LLC
                   PO Box          1402
                   Spring, TX 77383


                   TAMI HOGAN
                   600 LIECHTY COURT
                   HEATH, TX 75032


                   TAX FREE SHOPPING, LTD
                   1512 Suite 100, Crescent Drive
                   Carrollton, TX 75006


                   The Epoch Times Association Inc.
                   229 W 28th St, 6th Flr
                   New York, NY 10001


                   THE JEWISH WEEK INC.
                   1501 Broadway, Suite 505
                   New York, NY 10036


                   THOMPSON TAX & ASSOCIATES
                   PO Box          96
                   WAVERLY, KS 66871


                   THOMSON REUTERS
                   PO Box          417175
                   Boston, MA 02241-7175
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                   THYSSEN KRUPP ELEVATOR
                   PO Box          933013
                   ATLANTA, GA 31193-3013


                   TOWN OF PALM BEACH
                   PO Box          2029
                   PALM BEACH, FL 33480


                   UNITED HEALTH CARE JP MORGAN
                   131 S. DEARBORN, 6TH FL
                   Chicago, IL 60603


                   UNITED PARCEL SERVICE
                   PO Box          7247-0244
                   PHILADELPHIA, PA 19170-0001


                   UPS SUPPLY CHAIN SOLUTIONS, INC.
                   28013 NETWORK PLACE
                   Chicago, IL 60673-1280


                   VECTOR SECURITY INC
                   PO Box          89462
                   Cleveland, OH 44101-6462


                   VERIZON
                   PO Box          5124
                   ALBANY, NY 12212-5124


                   Verizon Wireless
                   PO Box          408
                   Newark, NJ 07101-0408
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                   Wage Works, Inc.
                   1100 Park Place 4th Floor
                   San Mateo, CA 94403


                   WASTE MANAGEMENT
                   PO Box          4648
                   Carol Stream, IL 60197-4648


                   Woodbury Common Premium Outlets
                   PO Box          822884
                   Philadelphia, PA 19182-2884


                   WWD
                   PO Box          6356
                   Harlan, IA 51593-1856
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/RV$QJHOHV&$
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 Attorney for:
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Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

, .HYLQ:DOVK                                                              WKHXQGHUVLJQHGLQWKHDERYHFDSWLRQHGFDVHKHUHE\GHFODUH
                  (Print Name of Attorney or Declarant)
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              FODVVRIWKHFRUSRUDWLRQ¶V V¶ HTXLW\LQWHUHVWV
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                  7KLVIRUPLVRSWLRQDO,WKDVEHHQDSSURYHGIRUXVHE\WKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLD
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                     $GGHQGXPWR&RUSRUDWH2ZQHUVKLS6WDWHPHQW3XUVXDQWWR
                  )5%3 D  DQGDQG/RFDO%DQNUXSWF\5XOH
7KHIROORZLQJHQWLWLHVRWKHUWKDQWKHGHEWRURUDJRYHUQPHQWDOXQLWGLUHFWO\RULQGLUHFWO\RZQRUPRUHRIDQ\
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